Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 1 of 14 Page ID #:1



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 8
                              UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
11 Grasshopper House, LLC, a California       No. 5:18-CV-00263
12
   limited liability company,
                                              COMPLAINT FOR FALSE
13               Plaintiff,                   ADVERTISING IN VIOLATION OF
                                              THE LANHAM ACT, TRADE LIBEL
14         vs.                                PER SE, AND VIOLATIONS OF THE
15                                            CALIFORNIA BUSINESS AND
   Clean & Sober Media LLC, a California
16 limited liability company; Cliffside       PROFESSIONS CODE
   Malibu, a California corporation;
17 Richard L. Taite, an individual; and
                                              DEMAND FOR JURY TRIAL
18 Does 1-10.
19               Defendants.
20
21
22                              JURISDICTION AND VENUE
23         1.    This is an action for (1) false and misleading representations in
24   advertising in violation of section 43(a) of the Trademark Act of July 5, 1946, as
25   amended (the “Lanham Act”), 15 U.S.C. § 1125(a)(1)(B); (2) trade libel per se
26   under California law; (3) false advertising in violation of section 17500 of the
27   California Business and Professions Code; and (4) unfair competition in
28   violation of section 17200 of the California Business and Professions Code. This




                                        COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 2 of 14 Page ID #:2



 1   Court has jurisdiction over the subject matter of this action under 28 U.S.C.
 2   § 1331 (federal-question jurisdiction), 15 U.S.C. § 1121 (actions under the
 3   Lanham Act), and 28 U.S.C. § 1367 (supplemental jurisdiction). This Court has
 4   supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s state-law claims for
 5   trade libel per se and violation of the California Business and Professions Code
 6   because they arise from the same facts as Plaintiff’s Lanham Act claim.
 7         2.     Venue is proper in the Central District of California because (a) all
 8   Defendants reside in the State of California and at least one of the Defendants
 9   resides in this District, and (b) substantial parts of the events or omissions giving
10   rise to the claims occurred in this District.
11                                    INTRODUCTION
12         3.     This action for damages and injunctive relief arises from the use of
13   false and misleading statements on a website known as “The Fix”
14   (www.thefix.com). The Fix purported to provide the public with disinterested
15   reviews and ratings of drug rehabilitation centers, but The Fix was not a
16   disinterested actor. The Fix was, in fact, owned and controlled by Defendants for
17   the purpose of boosting sales at a particular drug rehabilitation center, Cliffside
18   Malibu, which Defendants also owned and operated. Defendants boosted sales at
19   Cliffside Malibu by providing the public manipulated reviews and ratings,
20   including a perfect “five-star” rating for the effectiveness of its treatment. In
21   comparison, The Fix gave Passages Malibu, Cliffside Malibu’s most significant
22   competitor, a “one-star” rating for patient treatment.
23         4.     Visitors to The Fix were deceived in two ways. First, they were not
24   informed that the review and rating of Cliffside Malibu, which appeared to be
25   editorial content, was in fact “native advertising” purchased or produced by
26   Defendants. Second, The Fix falsely informed visitors that the reviews and
27   ratings of both Cliffside Malibu and Passages Malibu were based on the results
28   of multiple, formal surveys received from those facilities’ former clients.



                                             -1-
                                          COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 3 of 14 Page ID #:3



 1         5.    Defendants’ scheme succeeded in diverting business to Cliffside
 2   Malibu from Passages Malibu. Plaintiff, which owns Passages Malibu, has
 3   sustained in excess of $50 million in damages because of patients diverted by
 4   false and misleading information on The Fix. Defendants’ misconduct, unless
 5   enjoined, will continue to irreparably injure Plaintiff and its reputation.
 6                                        PARTIES
 7         6.    Plaintiff Grasshopper House, LLC is a California limited liability
 8   company with its principal place of business in Malibu, California. Plaintiff
 9   owns and operates Passages Malibu, a holistic addiction treatment and
10   rehabilitation facility in Malibu, California. Founded in 2001, Passages Malibu
11   includes alcohol, drug, and prescription-drug rehab and detox centers for the
12   treatment of clients. It has been rated by Healthcare Global magazine as No. 1 in
13   its list of the “Top 10 Rehab Clinics In The World,” and it has been named by
14   Forbes magazine as one of the most luxurious rehab centers in the world.
15         7.    Upon information and belief, defendant Clean & Sober Media LLC,
16   is a California limited liability company with its principal place of business in
17   Woodland Hills, California. Clean & Sober Media owns and operates The Fix, an
18   Internet website that claims to be “the world’s leading premier [sic] about
19   addiction and recovery.”
20         8.    Upon information and belief, defendant Cliffside Malibu is a
21   California corporation with its principal place of business in Malibu, California.
22   Cliffside Malibu operates a residential treatment center also known as Cliffside
23   Malibu. Cliffside Malibu and Passages Malibu directly compete with each other
24   for clients in the same market for luxury alcohol and drug addiction treatment
25   services.
26         9.    Upon information and belief, defendant Richard L. Taite is the
27   manager and sole member of defendant Clean & Sober Media, as well as the
28   founder, owner, Chief Executive Officer, Secretary, and Chief Financial Officer



                                            -2-
                                         COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 4 of 14 Page ID #:4



 1   of defendant Cliffside Malibu. Upon information and belief, Taite controls and is
 2   directly responsible for the actions of Clean & Sober Media and Cliffside
 3   Malibu. Taite also has acted in his personal and individual capacity as to, and
 4   personally participated in, the conduct that gives rise to the claims in this action.
 5         10.    Upon information and belief, each of the above-identified
 6   Defendants acted as the agent of the other Defendants with respect to the conduct
 7   that gives rise to the claims in this action.
 8         11.    Upon information and belief, each of the above-identified
 9   Defendants conspired and acted in concert with each other with respect to the
10   conduct that gives rise to the claims in this action.
11         12.    Does 1-10 are persons and business entities, presently unknown,
12   who acted as the agents of the above-identified Defendants, or conspired and
13   acted in concert with them, with respect to the conduct that gives rise to the
14   claims in this action.
15                               FACTUAL ALLEGATIONS
16         13.    Clean & Sober Media has owned and operated The Fix since
17   October 2013. It was not until recently, however, that The Fix disclosed that
18   Clean & Sober Media was related to Cliffside Malibu. They shared a common
19   owner: Richard Taite.
20         14.    Before October 2013, The Fix was owned and operated by Recovery
21   Media, LLC. Ownership of The Fix changed hands after Recovery Media went
22   into bankruptcy.
23         15.    Upon information and belief,          based on Recovery Media’s
24   bankruptcy filings, Defendants and Recovery Media had a preexisting
25   commercial relationship under which The Fix was paid to advertise Cliffside
26   Malibu. In return for money, the Fix gave Cliffside Malibu a solid review and a
27   four-star (out of five) “Overall” rating. The review and rating of Cliffside
28




                                             -3-
                                          COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 5 of 14 Page ID #:5



 1   Malibu, as well as those for other treatment facilities, were provided in a section
 2   of The Fix called “Rehab Reviews.”
 3         16.   When Taite and Clean & Sober Media assumed control of The Fix,
 4   they changed Cliffside Malibu’s overall rating to five stars; the facility review
 5   itself remained word-for-word identical. Cliffside Malibu was also given a
 6   perfect five-star rating for the most important component—“Treatment.”
 7         17.   On the Rehab Reviews webpage, under a “Featured Centers” banner,
 8   Cliffside Malibu was consistently ranked as the top-rated facility and was given
 9   the most prominent page placement. A reader would have needed to look
10   carefully to find and scroll over a small information icon to reveal this statement:
11   “Featured centers have paid for placement of their reviews in this section;
12   however, the content and ratings contained in those reviews are editorial content
13   created by The Fix.” Readers were not informed of the commercial relationship
14   between Cliffside Malibu and The Fix. In fact, because of Defendants’
15   fraudulent concealment, this fact was unknown to Plaintiff until approximately
16   November 2017, when an independent website called The Verge published an
17   article on the issue. Only then did The Fix update its small information icon to
18   disclose the common ownership of The Fix and Cliffside Malibu.
19         18.   Defendants’ change of Cliffside Malibu’s overall rating was
20   inconsistent with what The Fix stated on its website—that all facility ratings
21   were “editorial content.” The change was also inconsistent with The Fix’s own
22   policies and procedures. The Fix stated that it “rigorously reported Rehab
23   Reviews, with input from thousands of alumni,” whose responses to surveys
24   were used to generate ratings. The Fix also stated:
25                      To create our reviews, we invite selected centers to
26               solicit former clients to complete a detailed, 20-question
27               survey. The Fix requires at least five completed surveys
28               before a review is generated. The surveys include



                                           -4-
                                        COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 6 of 14 Page ID #:6



 1               questions about accommodations, meals, residents, staff,
 2               activities, and more. Alumni respond anonymously and
 3               confidentially, and reviews are written based on their
 4               responses and follow-up questions where applicable.
 5                      The resulting review is highly detailed, delving not
 6               only into the intricacies of daily life, but also into the
 7               specific types of treatment offered.
 8                      For each of the above metrics - accommodations,
 9               food, and treatment - we then rate each center on a five-
10               star scale, based on the alumni’s chosen star ratings and
11               comments. The overall rating for the particular center
12               being reviewed is created based on the three component
13               star ratings, client comments, and other information
14               obtained through the survey process.
15         19.   In sum, The Fix stated that its reviews and ratings would be based
16   solely on survey responses provided by facility alumni. But when Defendants
17   took over The Fix, it increased the Cliffside Malibu rating in the absence of
18   customer surveys for that facility.
19         20.   The Fix’s upwards manipulation of the Cliffside Malibu rating
20   stands in stark contrast with its treatment of Passages Malibu, which has always
21   refused to pay The Fix for advertising. In March 2011, The Fix posted a review
22   of Passages Malibu, giving the facility an “Overall” rating of two and a half stars
23   and a disparaging rating of a single star for “Treatment.” Plaintiff contacted The
24   Fix to complain about the rating for Passages Malibu but was told that an
25   upgrade would cost $50,000. Plaintiff refused to pay, and the low ratings for
26   Passages Malibu have remained ever since.
27         21.   When Defendants took over The Fix, Plaintiff, which was unaware
28   that The Fix was owned and operated by a competitor, tried again to obtain a fair



                                              -5-
                                           COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 7 of 14 Page ID #:7



 1   review and rating for Passages Malibu. It referred The Fix to its own online
 2   statement that reviews and ratings would be based on at least five customer
 3   surveys, and it questioned the existence of such surveys from Passages Malibu
 4   alumni. Finally, in approximately July 2016, in the course of email
 5   communications between Plaintiff and the Editor-in-Chief of The Fix, The Fix at
 6   last acknowledged that no such surveys existed from Passages Malibu alumni. It
 7   nonetheless attempted to justify the review and rating of Passages Malibu on the
 8   ground that they were completed in 2012 “under prior editorial control” and
 9   “under different criteria.”
10         22.    The Fix has never disclosed to Plaintiff or to readers the actual basis
11   of the Passages Malibu review and rating. For years, readers were falsely
12   informed the Passages Malibu review and rating were based on patient surveys
13   when in fact no such surveys existed. Defendants’ fraudulent concealment had
14   kept Plaintiff from learning the truth. The Fix only recently added a difficult-to-
15   find information icon—an “i” in a circle—which, when touched by the cursor,
16   generates the following pop-up: “Reviews completed prior to October 25th, 2013
17   were completed under prior editorial control. Some reviews and star ratings may
18   have been completed at different times and under different criteria.”
19         23.    Plaintiff continued to complain to The Fix about the Passages
20   Malibu review and rating. At one point, The Fix agreed to take down the review
21   and rating, but the removal never happened. At a later point in time, The Fix’s
22   Senior Account Representative, Kris Harrison, asked Plaintiff, “If I was able to
23   have them take [the two-and-a-half-star review] down would you be interested in
24   listing within some of our categories or maybe on [sic] of our banner positions?”
25   When Plaintiff refused to pay for advertising, the negative review and rating
26   remained.
27         24.    It soon became clear why The Fix had refused to remove Passages
28   Malibu’s review and rating: the Passages Malibu name was driving website



                                            -6-
                                         COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 8 of 14 Page ID #:8



 1   traffic to The Fix. Plaintiff has spent in excess of $100 million dollars on
 2   advertising Passages Malibu, and that advertising resulted in Passages Malibu’s
 3   brand recognition and favorable reputation. As a result, consumers looked for
 4   and could find Passages Malibu online more easily than its competitors. But
 5   there was a downside. According to Harrison, people searching the Internet for
 6   Passages Malibu were finding the negative review on The Fix; “your review with
 7   us still ranks on page 1 of google right under your website.” In other words, The
 8   Fix did not want to remove the false Passages Malibu review and rating because
 9   it would decrease traffic to The Fix, and by extension, the website’s advert ising
10   revenue.
11         25.   In sum, The Fix contains several false and misleading statements
12   about the reviews and ratings of Cliffside Malibu and Passages Malibu:
13         a.    The Fix states that the reviews and ratings for Cliffside Malibu are
14               editorial and based on at least five customer surveys. They are not.
15               Cliffside Malibu’s favorable review and rating followed from its
16               advertising in and then ownership of The Fix.
17         b.    The Fix misleads readers by failing to disclose that its review and
18               rating of Cliffside Malibu is really advertising. The review and
19               rating are a form of “native advertising,” a term used by the Federal
20               Trade Commission to describe advertisements indistinguishable
21               from    news,    feature   articles,   product   reviews,    editorial,
22               entertainment, and other regular content. The FTC’s enforcement
23               policy states that it considers native advertising to be misleading in
24               the absence of a “sufficiently prominent and unambiguous”
25               disclosure of made in “simple, unequivocal” language. The Fix did
26               not and does not contain sufficient disclosures of its native
27               advertising.
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                                          -7-
                                       COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 9 of 14 Page ID #:9



 1         c.      The Fix states that the reviews and ratings for Passages Malibu are
 2                 editorial and based on at least five customer surveys. They are not.
 3                 Passages Malibu’s unfavorable review and rating followed from its
 4                 refusal to pay for advertising, its competition with Cliffside Malibu,
 5                 and its name recognition driving traffic to The Fix.
 6         26.     By maintaining the review of Passages Malibu, including the false
 7   one-star “Treatment” rating and other false and misleading statements, and by
 8   intentionally misinforming readers that the ratings were based on completed
 9   surveys by at least five former clients, Defendants acted with malice, oppression,
10   conscious disregard of Plaintiff’s rights, and either knowledge that the
11   statements were false or reckless disregard of the truth or falsity of the
12   statements.
13         27.     Defendants’ false and misleading statements about Passages Malibu,
14   particularly in comparison to the glowing review and rating for Cliffside Malibu,
15   have caused Plaintiff to suffer a decline of business, diversion of clients, loss of
16   goodwill, and injury to business reputation, causing damages in excess of $50
17   million. Upon information and belief, in this same time period, Cliffside Malibu
18   has experienced an increase in patient inquiries and enrollments.
19                              FIRST CLAIM FOR RELIEF
20                  (Lanham Act § 43(a)(1)(B), 15 U.S.C. § 1125(a)(1)(B))
21         28.     Plaintiff incorporates by reference the allegations of the preceding
22   paragraphs.
23         29.     By their acts set forth above, including both affirmative statements
24   and omissions, Defendants have used and continue to use false and misleading
25   descriptions or representations of fact, in the context of commercial advertising
26   or promotion, that are directed to the nature, characteristics, or qualities of
27   Plaintiffs’ services or commercial activities and Defendants’ own services or
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                                            -8-
                                         COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 10 of 14 Page ID #:10



 1   commercial activities, in violation of section 43(a)(1)(B) of the Lanham Act, 15
 2   U.S.C. § 1125(a)(1)(B).
 3         30.     Defendants’ false and misleading statements are related to material
 4   elements of purchasers’ decisions and are likely to influence such decisions.
 5         31.     Defendants’ false and misleading statements actually deceived or are
 6   likely to deceive a substantial segment of the relevant market for clients or
 7   purchasers of alcohol or drug rehab services.
 8         32.     Defendants’    false   and   misleading    statements    have    entered
 9   “commerce,” as that term is defined in section 45 of the Lanham Act, 15 U.S.C.
10   § 1127.
11         33.     Plaintiff was injured and is likely to continue to be injured as a result
12   of Defendants’ false and misleading statements, both by direct diversion and loss
13   of sales and profits, and by a lessening of the goodwill associated with Plaintiff’s
14   name, business, and services.
15         34.     The injury to Plaintiff’s business and goodwill from Defendants’
16   false and misleading statements is irreparable because the full extent of such
17   injury, which would extend far into the future, cannot be precisely measured and
18   compensated for.
19         35.     Defendants continue to do the acts complained of in this Complaint,
20   and, unless restrained and enjoined, Defendants will continue to do so, all to
21   Plaintiff’s irreparable injury. Plaintiff’s remedy at law is not adequate to
22   compensate it for the future injuries received and threatened.
23         36.     Defendants’ conduct has been willful and committed with the intent
24   to deceive prospective clients or purchasers of alcohol or drug rehab services and
25   the public.
26         37.     Defendants’ conduct has caused Plaintiff to lose in excess of $50
27   million in revenue. Damages continue to accrue.
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                                             -9-
                                          COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 11 of 14 Page ID #:11



 1                            SECOND CAUSE OF ACTION
 2                                  (Trade Libel Per Se)
 3         38.     Plaintiff incorporates by reference the allegations of the preceding
 4   paragraphs.
 5         39.     Defendants’ review of Passages Malibu includes statements that
 6   were false and disparaged the quality of the treatment services that Plaintiff
 7   provides to clients at Passages Malibu.
 8         40.     Defendants made such false and disparaging statements to clients,
 9   prospective clients, and the public by including and maintaining the statements
10   in The Fix.
11         41.     Defendants’ single-star rating of Passages Malibu for “Treatment”
12   constitutes libel per se under California Civil Code §§ 45 and 45a because it
13   defames Plaintiff by stating, without the necessity of explanatory matter, that
14   Passages Malibu is completely incompetent at its core function of treating
15   addiction.
16         42.     Defendants knew or should have recognized that someone else might
17   act in reliance on their false and disparaging statements, causing Plaintiff
18   financial loss.
19         43.     By publishing such false and disparaging statements, Defendants
20   induced others who relied on the statements to avoid obtaining services at
21   Passages Malibu, causing Plaintiff to suffer direct financial harm.
22         44.     Defendants’ conduct was a substantial factor in causing Plaintiff’s
23   harm, including in excess of $50 million in revenue. Damages continue to
24   accrue.
25         45.     Defendants’ conduct was undertaken with malice, oppression,
26   conscious disregard of Plaintiff’s rights, and either knowledge that the
27   statements were false or reckless disregard of the truth or falsity of the
28   statements, thereby permitting the imposition of punitive damages against them.



                                            - 10 -
                                         COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 12 of 14 Page ID #:12



 1                              THIRD CAUSE OF ACTION
 2                   (California Business and Professions Code § 17500)
 3         46.     Plaintiff incorporates by reference the allegations of the preceding
 4   paragraphs.
 5         47.     Defendants have made statements in advertising that are untrue or
 6   misleading.
 7         48.     Defendants knew, or by the exercise of reasonable care should have
 8   known, that their statements were untrue or misleading.
 9         49.     Members of the public are likely to be deceived by Defendants’
10   untrue or misleading statements.
11         50.     Defendants conduct constitutes false advertising in violation of
12   section 17500 of the California Business and Professions Code.
13         51.     Defendants’ misconduct is likely to continue or reoccur unless it is
14   restrained and enjoined.
15                              FOURTH CAUSE OF ACTION
16                   (California Business and Professions Code § 17200)
17         52.     Plaintiff incorporates by reference the allegations of the preceding
18   paragraphs.
19         53.     Defendants’ conduct is unlawful and fraudulent and therefore in
20   violation of section 17200 of the California Business and Professions Code (also
21   known as the Unfair Competition Law). Defendants’ conduct was unlawful in
22   that it was in violation of (a) section 43(a)(1)(B) of the Lanham Act, 15 U.S.C.
23   § 1125(a)(1)(B); and (b) section 17500 of the California Business and
24   Professions Code. Defendants’ conduct was fraudulent, as that term is
25   understood under the California Unfair Competition Law, because a significant
26   number of reasonable readers of The Fix are likely to be misled by its false
27   statements and nondisclosures.
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                                            - 11 -
                                         COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 13 of 14 Page ID #:13



 1         54.    Defendants knew, or by the exercise of reasonable care should have
 2   known, that their statements were false or misleading.
 3         WHEREFORE, Plaintiff prays for relief against Defendants as follows:
 4         A.     Issuance of temporary, preliminary, and permanent injunctive relief
 5   restraining Defendants, their officers, employees, agents, affiliates, parents, and
 6   subsidiaries, and all other persons who act in concert with them from making false,
 7   misleading, or deceptive statements or representations about Plaintiff, Passages
 8   Malibu, Cliffside Malibu, or any other treatment facility, on or in connection with
 9   the operation of The Fix;
10         B.     Damages in an amount to be proved at trial under 15 U.S.C. § 1117, but
11   in no event less than $50 million, based on, among other things, lost business
12   revenues from prospective clients who selected other addiction treatment facilities
13   after reading The Fix’s review and rating of Passages Malibu alone or in comparison
14   with Cliffside Malibu’s review and rating;
15         C.     An accounting to determine the profits Defendants have made in
16   connection with their services provided to customers who were diverted from
17   Passages Malibu by Defendants’ false and misleading statements, and an award to
18   Plaintiff of such profits and trebling of such award under 15 U.S.C. § 1117(a);
19         D.     An award of punitive damages for trade libel per se;
20         E.     An award to Plaintiff of its costs and attorneys’ fees incurred in this action
21   under 15 U.S.C. § 1117(a) on the ground that this is an exceptional case; and
22         F.     Such other relief as the Court may deem just and equitable.
23                                      JURY DEMAND
24         Pursuant to Federal Rule of Civil Procedure 38(b)(1), Plaintiff demands a trial
25   by jury.
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                                              - 12 -
                                           COMPLAINT
Case 2:18-cv-00923-SVW-RAO Document 1 Filed 02/02/18 Page 14 of 14 Page ID #:14



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                                     COMPLAINT
